






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-81,295-01




EX PARTE CHERYL RENEE LETT, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 08-CR-2004-83-1 IN THE 212TH DISTRICT COURT
FROM GALVESTON COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of manslaughter and
sentenced to imprisonment for life.  The Fourteenth Court of Appeals affirmed her conviction. Lett
v. State, No. 14-09-00832-CR (Tex. App.—Houston [14th Dist.] 2011, no pet.). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends, among other things, that her appellate counsel rendered ineffective
assistance because she failed to timely notify Applicant that her conviction had been affirmed. 
Appellate counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court has
entered findings of fact and conclusions of law that appellate counsel failed to timely notify
Applicant that her conviction had been affirmed.  The trial court recommends that relief be granted. 
Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition
for discretionary review of the judgment of the Fourteenth Court of Appeals in case number 14-09-00832-CR that affirmed her conviction in cause number 08CR2004 from the 212th District Court
of  Galveston County.  Applicant shall file her petition for discretionary review with this Court
within 30 days of the date on which this Court’s mandate issues.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant’s remaining claims are dismissed.  Ex parte Torres, 943 S.W.2d 469 (Tex. Crim.
App. 1997).
&nbsp;
Delivered: June 4, 2014
Do not publish


